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     S.V.D.W. Petitioner  v.  The People of the State of Colorado,  In the Interest of Minor Children: Kai.V.D.W., Kay. V.D.W., and B.V.D.W., and Concerning R.V.D.W. Respondent: No. 25SC48Supreme Court of Colorado, En BancMarch 3, 2025
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 24CA811
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    